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 8                                 UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
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11   CRISTA RAMOS, individually and on behalf            Case No. 3:18-cv-1554-EMC
     of others similarly situated; CRISTINA
12   MORALES; BENJAMIN ZEPEDA,                           [PROPOSED] ORDER
     individually and on behalf of others similarly
13   situated; ORLANDO ZEPEDA; JUAN                      The Honorable Edward M. Chen
     EDUARDO AYALA FLORES, individually
14   and on behalf of others similarly situated;
     MARIA JOSE AYALA FLORES; ELSY
15   YOLANDA FLORES DE AYALA; HNAIDA
     CENEMAT, individually and on behalf of
16   others similarly situated; WILNA DESTIN;
     RILYA SALARY, individually and on behalf
17   of others similarly situated; SHERIKA
     BLANC; IMARA AMPIE; MAZIN AHMED;
18   HIWAIDA ELARABI; and SALMA
     AHMED,
19
                   Plaintiffs,
20
            v.
21
     ALEJANDRO MAYORKAS, in his official
22   capacity as Secretary of Homeland Security;
     UNITED STATES DEPARTMENT OF
23   HOMELAND SECURITY; and UNITED
     STATES OF AMERICA,
24
                   Defendants.
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                                                  [PROPOSED] ORDER
                                 Case Nos. 3:18-cv-1554-EMC and 3:19-cv-00731-EMC
              Case 3:18-cv-01554-EMC Document 223 Filed 12/28/23 Page 2 of 2




 1   KESHAV BHATTARAI; SAJJAN PANDEY;                     Case No. 3:19-cv-00731-EMC
     SUMNIMA THAPA; DONALDO POSADAS
 2   CACERES; SORAYDA RODRIGUEZ                           [PROPOSED] ORDER
     MOTIÑO; DENIS MOLINA CHAVEZ; S.S.,
 3   individually and on behalf of others similarly       The Honorable Edward M. Chen
     situated; and G.D.P., individually and on
 4   behalf of others similarly situated,

 5                  Plaintiffs,

 6          v.

 7   ALEJANDRO MAYORKAS, in his official
     capacity as Secretary of Homeland Security;
 8   UNITED STATES DEPARTMENT OF
     HOMELAND SECURITY; and UNITED
 9   STATES OF AMERICA,
10                     Defendants.

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12          Having considered Plaintiffs’ Stipulated Motion for Leave to File a Notice of Trump
13   Campaign Statements and finding good cause therefore,
14          PURSUANT TO STIPULATION, IT IS HEREBY ORDERED that Plaintiffs’ Motion
15   for Leave to File Notice of Trump Campaign Statements is GRANTED. Defendants may file a
16   response of similar length to Plaintiffs’ Notice.
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18   Dated: December 28, 2023
                                                      HONORABLE EDWARD M. CHEN
19                                                    United States District Judge
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                                                   [PROPOSED] ORDER
                                  Case Nos. 3:18-cv-1554-EMC and 3:19-cv-00731-EMC
